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11
                                   UNITED STATES DISTRICT COURT
12
                                        DISTRICT OF NEVADA
13
       SWITCH, LTD. a Nevada limited liability              Case No.: 2:17-cv-02651-GMN-VCF
14     company,
                                                            PLAINTIFF’S REPLY IN SUPPORT
15                    Plaintiff,                            OF MOTION FOR PRELIMINARY
                                                            INJUNCTION
16     vs.

17     STEPHEN FAIRFAX; MTECHNOLOGY; and
       DOES 1 through 10; ROE ENTITIES 11 through
18     20, inclusive,

19                    Defendants.

20
             Switch, Ltd. (“Switch”) hereby files its “Reply” in support of its Motion for a Preliminary
21
      Injunction (ECF 7 or “Motion”).
22
      I.     INTRODUCTION
23
             Switch brought this action against Defendants after learning that Defendants had advised
24
      and consulted with Aligned Data Centers, LLC (“Aligned”) in the construction and operation of
25
      data centers employing and infringing Switch’s proprietary technology. (ECF 1-1 (“Complaint”)
26
      at 1-2; Castor Declaration, attached hereto as Exhibit 1, at ¶ 2.) Defendants, having worked with
27
      Switch on behalf of a mutual client, were given extraordinary access to “all of Switch’s designs,
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 1    including extremely sensitive trade secret information and documentation, plans, schematics, and

 2    blueprints, operational schedules, and trade secrets” (id. at ¶ 31) under agreements not to ever

 3    disclose the same (ECF 1-1, Exhibit 1 at 27, “2011 NDA” and Exhibit 4 at 36, “2015 NDA”;

 4    Castor Decl. at ¶ 4) and assurances that Defendants would not engage in the design and

 5    construction of data centers. (Id. at ¶¶ 28-40, Exhibits 1 and 4 (the “NDAs”).) In designing and

 6    consulting in the design of Aligned’s data centers, Defendants wrongfully disclosed Switch’s

 7    confidential information and trade secrets. (Id.)

 8            In opposition to the Motion, Defendants argue: (1) that Plaintiff will not likely prevail on

 9    all of the claims set forth in its Complaint, (2) that Plaintiff has not demonstrated likely irreparable

10    harm, (3) that because Defendants believe the proposed injunction would close Defendants’

11    business, it would disproportionately harm Defendants; and (4) that the public interest would not

12    favor an alleged unwarranted injunction.

13            As set forth in Plaintiff’s Opposition to Defendants Motion to Dismiss (incorporated

14    herein), Switch is likely to prevail on the claims asserted in its Motion. (See ECF 16.) The Motion

15    was “brought under Switch’s claims for breach of contract, violation of the Defend Trade Secrets

16    Act of 2016, and Misappropriation of Trade Secrets under N.R.S. 600A.” (ECF 7 at 3.) In

17    contravention of the NDAs signed by Defendants, Fairfax personally promoted Defendants “blank

18    page stage” involvement in the design of Aligned’s data centers, incorporating Plaintiff’s trade

19    secret protected technology. (Id.) Contrary to the allegations of Defendants, Switch does not rely

20    on a mere presumption of irreparable harm but demonstrates the loss if its trade secrets have

21    already caused damage to its good will and cost it customers. Finally, the balance of harms and

22    public interest both favor Plaintiff. Switch is not trying to close Defendants’ business. The

23    requested injuction is very narrow; it “would have little or no impact on Defendants’ lawful and

24    existing business” of data center risk assessment. (Id. at 13.) It would merely enjoin involvement

25    in the design of data centers and the disclosure of promotional materials touting such design

26    services.

27    ///

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 1    II.     STATEMENT OF RELEVANT FACTS

 2            A.       Switch Has Unique Data Center Technologies and Trade Secrets.

 3            Data centers are the heart of the internet. As technology has become increasingly integral

 4    to our daily lives, the need for data centers (particularly, efficient and reliable data centers) has
                                   1
      increased, exponentially.
 5
              Switch is a Nevada limited liability company organized and existing under the laws of the
 6
      State of Nevada. Switch is a Las Vegas-based company that designs, constructs, and operates the
 7
      world’s most powerful telecommunication offerings, data centers and service technology
 8
      ecosystems. Switch’s facilities sustainably power, cool, and protect the physical infrastructure
 9
      and networks necessary to run the Internet.
10
              In addition to being well-known for its innovative technologies and confidential approach
11
      to its services, Switch is also recognized for providing military grade physical security to protect
12
      its customers and Switch’s intellectual property. All visitors to Switch’s facilities must first sign
13
      non-disclosure agreements and agree to comply with Switch’s security protocols. This high
14
      degree of physical security and constant presence of security personnel allows Switch to limit
15
      access to its trade secrets, patent-pending technologies, confidential designs and protocols, and to
16
      preserve the integrity of its mission critical operations that power the Internet.
17
              B.       Unprecedented Trade Secret Disclosures to Fairfax.
18
              On or about May 2011 and again on August 2015, Switch permitted Stephen Fairfax to
19
      conduct and in-depth investigation of Switch’s facilities. (Castor Decl. at ¶ 3.) Switch gave
20
      Fairfax special access to Switch’s confidential and trade secret information to conduct a thorough
21
      audit and assessment of Switch’s technologies for the benefit of a Switch customer, eBay, who
22
      requested Fairfax perform the audit. (See Mar. 30, 2011, Email chain, attached as Exhibit B to
23
      ECF 16.) eBay specifically requested Fairfax be given unprecedented access in order to perform
24
      a “complete fault tree analysis”. (Id. at 8). To perform this analysis, Switch was asked to disclose
25
      comprehensive information regarding “both the Mech[anical] and Elec[rical] one lines” to Fairfax
26

27    1
        See http://www.greenpeace.org/international/en/publications/Campaign-reports/Climate-Reports/clicking-clean-
      2017/. See also http://datacenterfrontier.com/top-10-cloud-campuses/.
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 1    and his team. (Id.) The “one lines” reveal the electrical and mechanical plans and schematic for

 2    the entire data center and are known and recognized in the industry as some of the most critical

 3    trade secrets. (Declaration of Samuel Castor, attached as Exhibit A to ECF 16 at ¶ 5). While
      Switch was ultimately willing to provide the unprecedented comprehensive access requested, it
 4
      was not willing to permit recording or the removal of any documents or copies of such disclosures
 5
      to leave its facility. (Id. at ¶6.) Fairfax noted that these security protocols were not a problem as
 6
      he could “work from [his] memory.” (Id, Exh. B at 3.)
 7
              Mr. Fairfax understood that no one was permitted access to a Switch data center without
 8
      first signing a nondisclosure agreement. (See id. at 2.) There was no discussion limiting this
 9
      requirement to the corporate entities represented or excluding individuals. (Id., Exh. A at ¶ 7-8.)
10
      It was always expressly stated and understood by the Switch and Fairfax that Fairfax and MTech
11
      were to be bound by the NDAs.             (Id.)   Thus, as a necessary precondition to Switch’s
12
      unprecedented disclosure of highly confidential information, Mr. Fairfax, individually and on
13
      behalf of MTech executed the 2011 NDA and the 2015 NDA (see NDAs), and also confirmed
14
      neither would engage in the designing or building of a data center. (ECF 1-1, Exh. 3.)
15
              Unbeknownst to Switch, Fairfax was hired in 2013 by Aligned, a provider of new data
16
      centers in Arizona and Phoenix, at or around the same time he reassured Switch he had “no interest
17
      in building and operating data centers.”          Roughly twelve (12) months thereafter, Fairfax
18
      personally and publicly started promoting his integral involvement in designing Aligned’s
19
      facilities “while the paper was literally still blank.” (ECF 1-1, fn. 11, 12.)
20
      III.    MOTION FOR PRELIMINARY INJUNCTION SHOULD BE GRANTED
21
              As set forth in the Motion, under Winter v. Natural Resources Defense Council, Inc., 555
22
      U.S. 7, 20 (2008), Plaintiff meets the traditional four- factor test for a preliminary injunciton: (i)
23
      Plaintiff is likely to succeed on the merits of the relevant claims, (ii) Plaintiff demonstrates it is
24
      likely to suffer irreparable harm, (iii) the balance of equities favor Plaintiff, and (iv) an injunction
25
      is in the public interest.
26
              A.      Switch is Likely to Succeed on the Merits of the Relevant Claims.
27
              Contrary to the representations of Defendants in their Opposition, Plaintiff clearly
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 1    identified the “relevant claims” in its Motion as follows: “This Motion is brought under Switch’s

 2    claims for breach of contract, violation of the Defend Trade Secrets Act of 2016, and

 3    Misappropriation of Trade Secrets under N.R.S. 600A.” Switch did not bring the Motion under

 4    its tort claims.

 5            Defendants incorporated their Motion to Dismiss in support of their arguments that: (1)

 6    Plaintiff is unlikely to succeed on its misappropriation of trade secrets claims because the claims

 7    are premised on the disclosure of information that was the subject of published patents, rendering

 8    the information public and no longer a trade secret, and (2) that the breach of contract claims

 9    similarly fail for lack of a protectable trade secret and do not apply to Fairfax, as Defendants

10    allege the NDAs were only binding on MTech.

11                       1.       Switch is likely to prevail on its misappropriation claims.

12            As set forth in Plaintiff’s Opposition to the Motion to Dismiss, which is fully incorporated

13    by reference herein, none of the trade secret claims are premised on the disclosure of information

14    that was the subject of published patents. Rather, the misappropriation claims were based on the

15    extensive and comprehensive information disclosed to Defendants, specifically including the

16    following trade secrets:

17                       •    “Electrical and mechanical ‘one-lines’” (Complaint at ¶11);

18                       •    “Operational routines” (id. at ¶19);

19                       •    “electrical designs” (id.);

20                       •    “hot aisle containment technology” not covered by published patents (id.)

21                       •    “cooling and power redundancy designs” (id. at ¶23);

22                       •    “trade secrets [that] have allowed Switch to provide power to all of its clients,
                              without interruption, for over 15 years” (id.);
23
                         •    “trade secrets [that] allow Switch to achieve a best monthly average power
24                            usage effectiveness below 1.1 PUE” (id. at ¶24);

25                       •    Patent pending claims that were unpublished during the pendency of the patent
                              application process (Id. at ¶16);
26
                         •    Methodology to “deploy up to 50 kilowatts of power per cabinet” without
27                            overheating (id. at ¶25-26);

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                      •   Methodology to deliver “10-times the amount of power otherwise delivered to
 1                        a competitor’s environment without overheating (id. at ¶27);

 2                    •   Systems to provide “100% power delivery and steady temperature control”
                          (id.);
 3
                      •   “all of Switch’s designs” (id. at ¶31);
 4
                      •   “extremely sensitive . . . documentation, plans, schematics, and blueprints”
 5
                          (id.);
 6
                      •   “operational schedules” (id.);
 7
                      •   “the physical infrastructure and layout of the Switch facility” (id. ¶¶42, 57);
 8
                      •   “the cabinet layout and configuration” (id.);
 9
                      •   “novel cooling designs [not covered by published patents]” and “associated
10                        cooling systems” (id.);

11                    •   “the electrical configuration and pathways” (id.);

12                    •   “the interplay of various Switch technology and components” (id.);

13                    •   “operations of the data center unique to Switch” (id.)

14            To prevail on its misappropriation of trade secrets claims under Defend Trade Secrets Act

15    of 2016, and NRS 600A., Plaintiff must show (i) misappropriation through use or disclosure of

16    (2) a valuable trade secret, (3) in violation of an express or implied contract or duty not to disclose.

17    18 USC § 1839; NRS 600A. Contrary to the representations of Defendants, both the federal

18    statute and NRS 600A permit an injunction to remain in place even after a trade secret is made

19    public “to eliminate commercial or other advantage that otherwise would be derived from the

20    misappropriation.” NRS 600A.040(1.).

21            As set forth in the Motion and the Complaint, Defendants were essentially given the “keys

22    to the kingdom” at the request of a non-party client under express and implied covenants not to

23    disclose the information revealed. Defendants now conveniently claim that because some of the

24    information they received has now been disclosed in published patent claims, they cannot be liable

25    for having disclosed it earlier before it was ever in the public domain. This argument fails for two

26    reasons: (i) the information disclosed was far broader than small portion able to secure patent

27    protection, and (ii) the test is not whether the information is now a trade secret but whether it was

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 1    a trade secret at the time of disclosure.

 2           As to the second argument, Defendants acknowledge that Plaintiff had at least one patent

 3    pending at the time Defendants were retained by Aligned to help Aligned design its data center.

 4    Defendants argue they were not involved in the designing of the data center, but recorded videos

 5    claiming to have been involved in the design of the data center at the “blank page” stage of

 6    development. As Defendants’ purported business is in auditing data centers based on an actual

 7    existing design, Defendants could not have been engaged in performing a risk assessment of a

 8    non-existant design, which would necessarily have been the case in order for them to have been

 9    involved at “literally” at the “blank page” stage of development. Defendants statement is,

10    therefore, an admission that in contravention of their representation to Plaintiff that they would

11    not design data centers and in violation of the NDAs, they were involved in the design of

12    Aligned’s data centers.

13           That Defendants disclosed Plaintiff’s trade secrets is evidenced by Aligned’s infringing

14    conduct in building a data center that copies the trade secrets as well as the patent claims of

15    Switch. That some of the patent claim information is now public does not relieve Defendants of

16    their duty to maintain the trade secrets while they were confidential as well as the trade secrets

17    that are still confidential. Defendants unlawful disclosures to Aligned permitted Aligned to build

18    a data center based on Switch’s proprietary technology—including pending patent claims--before

19    such claims were public. The construction, therefore, of Aligned’s infringing data center prior to

20    the public disclosure of patent claims infringed thereby coupled with the admissions by

21    Defendants that they were hired at the “blank page” stage to help Aligned design its data centers

22    is enough to show a likelihood of success on the merits and warrant a preliminary injunction.

23           With regard to the first argument above, pending patent claims were not all that was

24    revealed or disclosed to Defendants. They were given a comprehensive assessment of how the

25    small subset of proprietary information protectable by patents integrated with the far, far larger

26    set of confidential information, including the suite of Switch’s proprietary technology involved

27    in Switch’s lauded data centers. That these trade secrets too were disclosed is revealed by the

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 1    integration of these technologies in Aligned’s data centers immediately after retaining Defendants

 2    to help design such data centers. Defendants misappropriated, through disclosure to Aligned,

 3    Plaintiff’s valuable trade secrets when they had both an express and an implied duty not to do so.

 4    Plaintiff is likely to prevail on the merits of its misappropriation claims.

 5                   2.      Switch is likely to prevail on its contract claims.

 6           Defendant MTech’s only argument against the breach of contract claim is that it could not

 7    have breached any disclosure requirements because the information it received, having

 8    subsequently been the subject of issued Switch patent claims, no longer qualifies for trade secret

 9    protection. In other words, Defendant MTech admits is it bound by the NDAs, but wholly relies

10    on Defendants arguments against Switch’s likelihood of success on its misappropriation claims

11    to defend itself against the breach of contract claims brought against it. Thus, as to any breach of

12    contact defense based on whether the information disclosed in breach of the NDAs qualifies for

13    trade secret protection, a showing by Plaintiff that it will likely succeed on the merits of its

14    misappropriation claims automatically defeats such a breach of contract defense.

15           As he did in Defendants’ Motion to Dismiss, Defendant Fairfax claims he is not bound by

16    the NDAs because he claims he signed them only on behalf of MTech. In response, Plaintiff

17    reasserts its arguments in Opposition to the Motion to Dismiss that Fairfax is bound by the NDAs,

18    and particularly by the 2011 NDA, because (i) he signed them as the identified “Recipient,” (ii)

19    the NDA terms require any officer or employee of a company so bound to equally be bound by

20    the NDAs, and (iii) because Fairfax was an intended beneficiary of the NDAs. (ECF 16 at 10-12.)

21           At a minimum Defendant MTech admits it is and remains bound by the NDAs. The same

22    facts that support Plaintiff’s claim that it will likely succeed on the merits of its misappropriation

23    claims support its breach of contract claims. Thus, should the Court concur that Plaintiffs are

24    likely to prevail on their claims for misappropriation of trade secrets, axiomatically, Plaintiffs will

25    also have shown a likelihood of success as to their breach of contract claims against MTech. And,

26    because all of the confidential information MTech received was through the person of Fairfax,

27    any injunction against MTech engaging in data center design or disclosing such information must

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 1    necessarily enjoin Fairfax.

 2            B.       Switch Has Suffered and is Likely to Continue to Suffer Irreparable Harm
                       Warranting the Requested Injunction.
 3
              In their Opposition, Defendants rely upon this Court’s holding in V’Guara, Inc. v. Dec,
 4
      925 F. Supp. 2d 1120 (D. Nev. 2013), and Bartech Sys. Int’l, Inc. v. Mobile Simple Solutions, Inc.,
 5
      2016 U.S. Dist. LEXIS 68030 at *9 (D. Nev. May 24, 2016) to correctly point out that there is no
 6
      longer a presumption of irreparable harm in trade secret misappropriation cases. Plaintiff
 7
      concurs. 2 Nevertheless, as held in both the V’Guara case and the Bartech matter, Plaintiff meets
 8
      the showing required to demonstrate a likelihood of irreparable harm in a trade secret
 9
      misappropriation case. In the V’Guara and the Bartech cases, this Court found the movant had
10
      adequately demonstrated a likelihood of irreparable injury.
11
              V’Guara, Inc., moved for an injunction after learning that its secret formulation for a
12
      flavored vodka had been misappropriated. After declining to apply the presumption of irreparable
13
      harm to a misappropriation of trade secrets matter, the Court found as follows:
14
                       Even without this presumption, the Court finds that Plaintiff will
15                     likely suffer irreparable harm without the requested temporary
                       restraining order. Specifically, “[p]ublic disclosure of a trade secret
16                     destroys the information's status as a trade secret.” Saini v. Int'l
                       Game Tech., 434 F. Supp. 2d 913, 919 (D. Nev. 2006). Such
17                     destruction causes irreparable harm to the trade secret owner “by
                       both depriving him of a property interest and by allowing his
18                     competitors to reproduce his work without an equivalent investment
                       of time and money.” Id. (citations omitted). Such harms are unlikely
19                     to be adequately redressed by monetary damages.
20    V’Guara, at 1126. On finding that V’Guara had “invested several years and hundreds of
21    thousands of dollars in the development, manufacturing, marketing and distribution of its Gurana
22    [sic] Vodka”, id., this Court found:
23                     As such, Plaintiff would likely suffer irreparable injury because
                       disclosure of Plaintiff's secret formulation would allow its
24

25
      2
        Plaintiff accordingly acknowledges that these references to cases in support of a presumption in its Motions were
26    in error: EchoMail, Inc. v. Am. Express Co., 378 F. Supp. 2d 1, 4 (D. Mass. 2005); Storage Tech. Corp. v. Custom
      Hardware Eng’g & Consulting, Inc., 2004 WL 1497688 (D. Mass. 2004); FMC Corp v. Taiwan Tainan Giant Indus.
27    Co., Ltd., 730 F.2d 61, 63 (2nd Cir. 1984); Donald McElroy, Inc. v. Delany, 389 N.E.2d 1300, 1308 (1st Dist. 1979).
      (Motion at 11.)
28
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                       competitors to reproduce its work without investing equal amounts
 1                     of time and money.

 2     Id.

 3             Here “Switch has been designing, constructing, and operating data centers since early

 4     2000” (ECF 1-1, Exh. 5), and has not mererly invested hundreds of thousands of dollars in the

 5     development of its suite of trade secrets, but millions. (Castor Decl. at ¶ 6-7.) Moreover, Aligned,

 6     as a direct competitor of Switch, is actively promoting as its own designs the trade secreted

 7     designs of Switch and is touting Fairfax’s expertise in the construction of its data centers to attract

 8     and sell its services to potential clients of Switch. (Id. at ¶ 9-13.) These activities have already

 9     impacted Switch’s current business negotiations with significant clients, and will continue to do

10     so. (Id. at ¶ 14.)

11             In fact, potential Switch clients have insisted that Aligned’s facility are identical to

12     Switch’s. (Id. at ¶ 11; see also Statement of Switch Facility Tour Guest, dtd. Aug. 7, 2017,

13     attached hereto as Exhibit 2 (noting the Arizon data center, which was understood as a reference

14     to Aligned’s data center in Arizona, “looked just like Switch in its caging and cooling”).), As

15     noted in the Declaration of Switch inhouse counsel, the reference to “caging and cooling” was

16     understood in context to be a reference to Switch’s “proprietary hot aisle containment technology

17     known as TSCIF.” (Exhibit 2; Id. at ¶ 9-13.) As set forth herein, therefore, the disclosure of

18     Switch’s trade secrets destroys their value and causes irreparable harm to Switch “by both

19     depriving [Switch] of the unique property interest and good will engendered thereby and by

20     allowing [] competitors to reproduce [Switch’s] work without an equivalent investment of time

21     and money.” See e.g. V’Guara at 1126.

22             Similarly, the plaintiff in the Bartech case alleged misappropriation of its trade secrets by

23     defendant in the devopment of defendant’s competing software product for use in managing hotel

24     minibars. Bartech Sys. Int’l, Inc, at *9. Upon a showing that the defendant was “competing for

25     Bartech’s existing customers” with a product allegedly incorporating Bartech’s trade secrets, “the

26     Court accordingly [found] that Bartech [had] presented sufficient evidence to demonstrate a

27     likelihood of irreparable harm in the form of lost customers, diminished consumer goodwill, and

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                                                         10
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 1     reputational harm.” Id. at 15.

 2            The same is true in the instant case. While Defendants are not direct competitors of

 3     Switch, Aligned is. (Castor Decl. at ¶ Aligned is seeking the same national customers Switch

 4     solicits and is using and touting the technology it obtained from Defendants in order to do so.

 5     (Castor Decl. at ¶ 9.) Thus, in facilitating Aligned’s acquisition of Plaintiff’s trade secrets,

 6     Defendants, unless enjoined, are providing a direct competitor, with products incorporating

 7     Plaintiff’s trade secrets, destroying their value to Switch, and diminishing Plaintiff’s reputation

 8     and good will vis-à-vis competitors in the indurstry. (Id. at 8-14.) This too is sufficient to

 9     demonstrate a likelihood of irreparable harm.

10            C.      The Balance of Harms and Public Interest Favor Plaintiff.

11            As discussed, infra, Defendant’s entire argument in support of its allegation that they

12     would be harmed by the requested injuction is based on the strawman argument that the injunction

13     would prevent Defendants from continuing to provide data center risk assessments. (ECF 12 at

14     17.) Not so. As expressly stated in the Motion, the injunction merely requires Defendant not to

15     engage in data center design and not to further disclose Switch’s trade secrets. Thus, far from

16     preventing Defendants from performing risk assessment work, the injunction would restore the

17     status quo ante in which that was all Defendants were doing. Defendants, therefore, are not

18     harmed at all by the requested injunction.

19            Similarly, because the requested injunction is proper and comports with the public interest

20     in preserving trade secrets for those who lawfully hold them, the public interest also favors the

21     requested injunction.

22     ///

23     ///

24     ///

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 1     IV.    CONCLUSION

 2            For the reasons set forth herein, Switch respectfully requests the Court grant its Motion

 3     for Preliminary Injunction.

 4            Dated: December 12, 2017
                                                 Respectfully Submitted,
 5
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 1                                  CERTIFICATE OF SERVICE

 2

 3            I hereby certify that I am an employee of WEIDE & MILLER, LTD. and that on December
       13, 2017, I served a full, true and correct copy of the foregoing PLAINTIFF’S REPLY IN
 4
       SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION via CM-ECF to the
 5
       addressees listed below:
 6

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13                   FAIRFAX and MTECHNOLOGY

14

15                                                      /s/ F. Christopher Austin
                                                         An employee of Weide & Miller, Ltd.
16

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                                                   13
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                  EXHIBIT 1




                  EXHIBIT 1
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11
                                    UNITED STATES DISTRICT COURT
12
                                            DISTRICT OF NEVADA
13
        SWITCH, LTD. a Nevada limited liability               Case No.: 2:17-cv-02651-GMN-VCF
14      company,
                                                              DECLARATION OF SAMUEL
15                     Plaintiff,                             CASTOR IN SUPPORT OF
                                                              PLAINTIFF’S MOTION FOR
16      vs.
                                                              PRELIMINARY INJUNCTION
17      STEPHEN FAIRFAX; MTECHNOLOGY; and
        DOES 1 through 10; ROE ENTITIES 11 through
18      20, inclusive,

19                     Defendants.

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              I, Samuel Castor, declare under penalty of perjury under the laws of the United States that
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       the following is true and correct.
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              1.      I am the Executive Vice President of Policy and Deputy General Counsel for
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       Plaintiff Switch, LTD, in the above captioned matter. I am over the age of 21, under no disability,
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       and am competent to testify to the matters contained in this declaration. I make this declaration
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       in support of Switch’s Motion for Preliminary Injunction (“Motion”).
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              2.      Switch brought this action against Defendants after learning that Defendants had
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       advised and consulted with Aligned Data Centers, LLC (“Aligned”) in the construction and
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 1     operation of data centers employing and infringing Switch’s proprietary technology.

 2            3.      I am informed and believe that on or about May 2011 and again in August 2015,

 3     Switch permitted Stephen Fairfax to conduct and in-depth investigation of Switch’s facilities.

 4            4.      Defendants, having worked with Switch on behalf of a mutual client, eBay, were

 5     given extraordinary access to all of Switch’s designs, including extremely sensitive trade secret

 6     information and documentation, plans, schematics, and blueprints, operational schedules, and

 7     trade secrets under non-disclosure agreements not to ever disclose the same.

 8            5.      Central to Switch’s innovative technologies are founder Rob Roy’s designs.

 9     Switch’s novel technology and trade secrets has allowed Switch to build and operate its data

10     centers dramatically more cost efficiently than its competitors.

11            6.      I am informed and believe that included among these novel technologies and trade

12     secrets are the following that we set forth in the Complaint in this matter:

13                    •   “Electrical and mechanical ‘one-lines’” (Complaint at ¶11);

14                    •   “Operational routines” (id. at ¶19);

15                    •   “electrical designs” (id.);

16                    •   “hot aisle containment technology” not covered by published patents (id.)

17                    •   “cooling and power redundancy designs” (id. at ¶23);

18                    •   “trade secrets [that] have allowed Switch to provide power to all of its clients,
                          without interruption, for over 15 years” (id.);
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                      •   “trade secrets [that] allow Switch to achieve a best monthly average power
20                        usage effectiveness below 1.1 PUE” (id. at ¶24);

21                    •   Patent pending claims that were unpublished during the pendency of the patent
                          application process (Id. at ¶16);
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                      •   Methodology to “deploy up to 50 kilowatts of power per cabinet” without
23                        overheating (id. at ¶25-26);

24                    •   Methodology to deliver “10-times the amount of power otherwise delivered to
                          a competitor’s environment without overheating (id. at ¶27);
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                      •   Systems to provide “100% power delivery and steady temperature control”
26                        (id.);

27                    •   “all of Switch’s designs” (id. at ¶31);

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 1                    •   “extremely sensitive . . . documentation, plans, schematics, and blueprints”

 2                        (id.);

 3                    •   “operational schedules” (id.);

 4                    •   “the physical infrastructure and layout of the Switch facility” (id. ¶¶42, 57);

 5                    •   “the cabinet layout and configuration” (id.);

 6                    •   “novel cooling designs [not covered by published patents]” and “associated
                          cooling systems” (id.);
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                      •   “the electrical configuration and pathways” (id.);
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                      •   “the interplay of various Switch technology and components” (id.);
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                      •   “operations of the data center unique to Switch” (id.)
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              7.      The creation and development of these trade secrets over the past decade together
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       with the manner in which they are incorporated as part of the overall design and operation of
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       Switch’s data centers cost Switch and its investors millions of dollars and counteless thousands
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       of hours of work and innovation.
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              8.      As acknowledged by third parties that have assessed Switch’s data centers as
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       superior to those built by Apple, Google, Facebook, Amazon, Microsoft, and other technology
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       giants (see http://www.greenpeace.org /international/en/publications/Campaign-reports/Climate-
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       Reports/clicking-clean-2017/; see also http://datacenterfrontier.com/top-10-cloud-campuses/),
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       the interaction, integration and use of these trade secrets have set Switch apart and above its peers
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       as a leader in the data colocation industry.
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              9.      Aligned is a direct competitor of Switch. Both companies seek the same national
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       clients for their services, an it is not uncommon for such national clients to visit several different
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       data center providers in different states before entering into a contract.
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              10.     This is evidenced by the August 7, 2017, “Statement of [Redacted] Tour Guest”, a
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       true and correct copy of which is attached to the Reply in Support of Plaintiff’s Motion for
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       Preliminary Injunction as Exhibit 2. That statement from a Switch security manager, reports that
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       a national potential Switch client not only visited Switch’s data center in Reno but had also visited
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       an Arizona data center as a potential colocation data center cite.
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 1             11.     That potential client then noted that the data center in Arizona “looked just like

 2     Switch in its caging and cooling”. The security manager understood the caging and cooling

 3     reference as a comparision to Switch’s “proprietary hot aisle containment technology known as

 4     TSCIF.”

 5             12.     As part of my job duties I make it a practice to be aware of any competing data

 6     centers employing any technology similar to or employing elements of Switch’s “hot aisle

 7     containment technology.” The only facility of which I am aware in Arizona that has “caging and

 8     cooling” that would look “just like Switch” is Align’s Arizona data center.

 9             13.     This is because, as set forth in the Complaint and the Motion, Aligned’s data

10     centers copy Switch’s designs and incorporate Switch’s trade secrets.

11             14.     In addition, as a direct competitor of Switch, Aligned is actively promoting as its

12     own designs the trade secreted designs of Switch and is touting Fairfax’s expertise in the

13     construction of its data centers to attract and sell its services to potential clients of Switch.

14             15.     These activities have already impacted Switch’s current business negotiations with

15     significant clients, and will continue to do so.

16             Dated: December 12, 2017
                                                     /s/ Sam Castor
17                                                   Samuel Castor

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                  EXHIBIT 2




                  EXHIBIT 2
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Date:    August 7, 2017

To:      File

From: Mark Crosby

Re:      Statement of Uber Security Tour Guest




On the afternoon of Thursday, August 3rd, 2017, Switch Security Manager Michael Smith and I,
conducted a security tour for two Uber employees, Steven Lacy, and Reynaldo Perez as part of an
assessment project of potential data centers in consideration for colocation services. After the tour, one
of the tour guests, Steven Lacy, commented to me that he had visited another data center in Arizona as
part of his company’s assessment project. He said the Arizona data center looked just like Switch in its
caging and cooling. The conversation at that point was brief, as the guest was departing the Tahoe-Reno
1 facility. I did not have the opportunity to probe the comment further at that time.



My impression was that he was referring to our proprietary hot aisle containment technology known as
TSCIF, and our proprietary cooling systems. The following morning, August 4th, 2017, I contacted Chief
Security Officer, Joe McDonald to advise him of this comment. I was directed to contact in-house
counsel and inform them of the conversation.
